Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 1 of 13




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-60125-CIV-SCOLA/GOODMAN

   JIANGMEN BENLIDA PRINTED
   CIRCUIT CO., LTD.,

          Plaintiff/Counter-Defendant,

   v.

   CIRCUITRONIX LLC,

         Defendant/Counter-Plaintiff.
   ______________________________/

           CIRCUITRONIX’S MOTION FOR RELIEF FROM JUDGMENT
   TO INCLUDE PRE-JUDGMENT INTEREST AND SET POST-JUDGMENT INTEREST

          Circuitronix, LLC (“CTX”) respectfully requests, pursuant to Federal Rules of Civil

   Procedure 60(b)(1) and 62.1(a), that the Court excuse its attorneys’ error in filing—one business

   day late—CTX’s motion to add pre-judgment interest to the judgment, and to set the post-

   judgment interest rate. CTX’s counsel mistakenly calendared the deadline for the motion

   regarding interest for today, Tuesday, January 2, 2024 (the same deadline that the bill of costs is

   due), and only today realized that the motion relating to interest should have been calendared for

   one business day earlier, on Friday, December 29, 2023. The undersigned counsel respectfully

   submit that their timing error should be deemed excusable under the circumstances, that

   Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”) has suffered no prejudice thereby, and

   that CTX should be permitted to seek the pre-judgment interest that it is entitled to under Florida

   law.

          But for counsel’s calendaring error, and delayed discovery thereof due to vacations

   around the holiday period, CTX would have timely filed last week its motion to determine



                                                    1
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 2 of 13




   interest on the final judgment. This Rule 60(b)(1) motion also incorporates that motion to

   determine interest.

          Because Benlida already filed its notice of appeal of the final judgment, back on

   December 18 (ECF No. 295), the Court likely lacks jurisdiction to rule on this motion except as

   an indicative ruling. Thus, CTX respectfully requests that the Court approach this motion, as

   necessary, through the prism of an indicative motion pursuant to Rule 62.1(a).

                                            BACKGROUND

          A.      Facts Bearing on the Motion for Relief from Judgment

          After the Court entered judgment in this case in CTX’s favor on December 1, 2023 (ECF

   No. 294), CTX’s counsel internally calendared various deadlines. We calendared the 28-day

   deadline under Rule 59 in which to file CTX’s motion for renewed judgment as a matter of law

   (December 29, 2023), the deadline under the local rules to serve CTX’s draft motion for

   attorney’s fees (December 31, 2023), and the deadline for filing CTX’s bill of costs and

   memorandum in support thereof (January 2, 2024). CTX’s counsel mistakenly calendared the

   deadline to seek pre-judgment interest along with the deadline to file the bill of costs (today,

   January 2, 2024, the first day after the New Year’s holiday weekend).

          The undersigned counsel for CTX, Stephen Rosenthal and Christina Martinez, are the

   two attorneys handling these particular responsibilities. Both counsel took holiday vacations

   around the holidays in December 2023: Ms. Martinez was out of the country from December 11

   to 20, and Mr. Rosenthal was in California on a family vacation from December 24 to January 1.

   Despite those holidays, CTX’s counsel timely filed CTX’s Rule 50(b) motion, on December 28

   (ECF No. 297), timely served a draft motion for attorneys’ fees on Benlida’s counsel on

   December 29, and has timely filed CTX’s bill of costs today, on January 2 (ECF Nos. 298, 299).



                                                     2
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 3 of 13




          It was only today, January 2, the day that Mr. Rosenthal returned to the office from

   vacation after the New Year (after returning home from California the night before), that he

   discovered the calendaring error relating to the issue of pre-judgment interest. A motion to add

   pre-judgment interest generally, though not always, requires a motion to alter or amend the

   judgment, and so is governed by the 28-day deadline in Rule 59(e). That deadline fell one

   business day ago, on Friday, December 29, 2023.

          Once the undersigned recognized this calendaring error, upon return from vacation, only

   this afternoon, that deadline had already passed. Consequently, CTX’s counsel have repackaged

   their draft motion to determine fees within this Rule 60(b)(1) motion, which is the proper

   procedural avenue under these circumstances. And given that Benlida has already appealed the

   unamended judgment, CTX is filing this motion as one seeking an indicative ruling.

          B.      Facts Bearing on the Motion to Determine Interest

          The only factual background necessary on the motion at the heart of this filing—the

   motion to determine interest—bears on the date that the loss the jury awarded CTX-US damages

   for occurred. That can be readily identified. The jury’s verdict awarding $7,585,847 in damages

   (ECF No. 278) corresponds—to the dollar—to the damages CTX-US requested for two distinct

   categories of breaches of the parties’ contract: (1) the amount the 2019 reconciliation between

   the parties showed CTX-US was owed ($4,760,847), plus (2) the amount of the payments that

   Benlida had instructed CTX-US to divert to ROK ($2,825,000). See ECF No. 281-61 (Trial Ex.

   D-N9, “Summary of Payable Reconcilation Between CTX and Benlida,” showing $4,760,847

   figure); ECF No. 281-66 (Trial Ex. D-Q13, “Summary of Payments CTX Made to ROK at

   Benlida’s Direction,” showing ($2,825,000 figure).




                                                   3
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 4 of 13




          Each of those figures was associated with specific timeframes. The payments diverted to

   ROK occurred between March 14, 2017 and June 29, 2018. ECF No. 281-66 (showing dates of

   payments). And the 2019 reconciliation figure was calculated using the parties’ data “through

   July 2019.” ECF No. 281-61. Because the pecuniary losses these amounts represent occurred

   before January 1, 2020, pre-judgment interest can cleanly and conservatively be set to run from

   that date forward.

                                             ARGUMENT

          A jury found that CTX was damaged by Benlida’s breach of the parties’ contract, which

   occurred at a specified time period several years before entry of the judgment. As a further

   remedy for its loss, Florida law, which applies, provides that CTX should be awarded pre-

   judgment interest on the amount of its loss the jury determined. Since CTX’s loss of nearly $7.6

   million relates to breaches that occurred prior to January 1, 2020, the pre-judgment interest is a

   substantial sum: over $1.6 million. But for the deadlines following the Court’s entry of

   judgment on December 1, 2023 being intermixed with the end-of-year holiday season, and

   CTX’s counsel mistakenly calendaring the deadline for its motion related to interest one business

   day off, CTX would not have had to resort to the expediency of Rule 60(b) to seek relief. But

   CTX’s counsel take responsibility for the timing error and respectfully submit that this

   circumstance satisfies the criteria for excusable neglect under Rule 60(b)(1). This motion is

   being filed one business day beyond the Friday, December 29, 2023 deadline, and Benlida will

   suffer no prejudice thereby.

          As to the merits of the underlying motion, which CTX files now, within the deadline it

   had erroneously calendared (the same deadline as its bill of costs), pre-judgment interest is

   clearly warranted and appropriate, and the amount CTX seeks is conservative and reasonable.



                                                    4
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 5 of 13




   Once the Court has jurisdiction to do so, it should specify the applicable interest in accordance

   with the law set forth below. In the Final Judgment, the Court provided that “[i]nterest shall

   accrue as provided for under the appropriate legal authorities.” ECF No. 294. The motion

   provides those authorities so that the Court can fix the appropriate interest on the judgment.

      I. The Court Should Indicate That It Would Grant the Rule 60(b) Motion If the
         Eleventh Circuit Remands for That Purpose

          The fact that this case is already on appeal, albeit at the inception of that process, adds a

   procedural wrinkle to CTX’s Rule 60(b)(1) motion. When a case is on appeal, it divests the

   district court of jurisdiction to enter relief on a Rule 60(b) motion. See Madura v. BAC Home

   Loans Servicing, LP, 655 F. App’x 717, 723-24 (11th Cir. 2016). The procedure for indicative

   rulings under Rule 62.1, however, “expressly grants district judges the authority to consider

   [Rule 60(b)] motions during the pendency of an appeal.” Id. at 724. Under that procedure, the

   district court can indicate how it would rule on the motion if the Court of Appeals were to

   remand for that purpose, and the movant can also petition the Court of Appeals to remand the

   case for entry of such an order. See Fed. R. Civ. P. 62.1; Fed. R. App. P. 12.1.

          CTX’s Rule 60(b)(1) motion is timely, because it is being made well within the one-year

   time frame for such motions. Fed. R. Civ. P. 60(c)(1). CTX respectfully requests that the Court

   enter an order stating that it would grant CTX’s Rule 60(b) motion if the Eleventh Circuit

   remands for that purpose, or at least stating that the Rule 60(b) motion raises a substantial issue.

   CTX will promptly advise the Court of Appeals of this Court’s ruling. See Fed. R. App. P.

   12.1(a). If this Court were to follow that procedure, it would create the most efficient posture

   for the Court of Appeals as well, since it could facilitate any review of this Court’s ruling on the




                                                     5
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 6 of 13




   underlying request to add pre-judgment interest and to specify the post-judgment interest rate in

   consolidated fashion on appeal with Benlida’s very early-stage appeal of the merits of the case.


      II.      The Court Should Grant CTX’s Motion for Relief from Judgment

            Rule 60(b)(1) provides that a court can provide relief from a final judgment, order, or

   proceeding due to a party’s “mistake, inadvertence, surprise, or excusable neglect.” Fed. R. Civ.

   P. 60(b)(1). Courts consider four factors to guide their determination of excusable neglect: “the

   danger of prejudice to the [other party], the length of the delay and its potential impact on

   judicial proceedings, the reason for the delay, including whether it was within the reasonable

   control of the movant, and whether the movant acted in good faith.” Walter v. Blue Cross &

   Blue Shield United of Wisconsin, 181 F.3d 1198, 1201 (11th Cir. 1999) (quoting Pioneer Inv.

   Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 395 (1993)) (alteration in original;

   internal quotation marks omitted). The excusable-neglect determination “is at bottom an

   equitable one, taking account of all relevant circumstances surrounding the party’s omission.”

   Id. (quoting Pioneer Inv., 507 U.S. at 395) (internal quotation marks omitted); Keane v. HSBC

   Bank USA for Ellington Tr., Series 2007-2, 874 F.3d 763, 767 (1st Cir. 2017). The decision of

   whether to grant or deny relief under Rule 60(b)(1) is within the sound discretion of the trial

   court. Vela v. Western Elec. Co., 709 F.2d 375, 376 (5th Cir. 1983).

            Under all the relevant circumstances, CTX’s counsel’s misjudgment of the applicable

   Friday, December 29, 2023 deadline constitutes neglect that should be excusable and which

   warrants relief under Rule 60(b)(1). The four Pioneer factors all weigh in favor of granting the

   requested relief.

            First, counsel’s one-business-day delay in filing a motion for interest on judgment does

   not prejudice Benlida. Cheney v. Anchor Glass Container Corp., 71 F.3d 848, 850 (11th Cir.

                                                     6
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 7 of 13




   1996) (recognizing Pioneer had “accorded primary importance to the absence of prejudice to the

   nonmoving party and to the interest of efficient judicial,” and determining that the non-moving

   party could not show it had suffered any prejudice from a six-day delay in filing a demand for

   trial de novo following an arbitration award).

          Second, the one-day delay is unlikely to have any impact on judicial proceedings. See

   Walter, 181 F.3d at 1202 (finding “there is no reason to believe” a one-month delay in filing an

   untimely response to a motion to dismiss “would have an adverse impact on the district court or

   its resources”); Cheney, 71 F.3d at 850 (determining a six-day delay produced “no adverse

   impact on the district court or its resources by permitting the case to be tried as it would have

   been” had the movant complied with the Local Rules). Indeed, Benlida had already appealed on

   December 18, well before the twenty-eight day deadline for filing a Rule 59(e) motion, such that

   the Court would have had to proceed through an indicative route regardless of whether CTX had

   filed its motion one business day ago.

          Third, the short delay is entirely attributable to undersigned counsel’s inadvertent mis-

   calendaring of the deadline for Tuesday, January 2, 2024 instead of January 29, 2023. Although

   the reason for the error was “obviously within counsel’s control,” the untimeliness of the filing

   was “simply an innocent oversight by counsel.” Cheney, 71 F.3d at 850; see also Walter, 181

   F.3d at 1202 (determining that a secretary’s failure to record the applicable deadline was the

   same “type of ‘innocent oversight’ involved in Cheney”). That oversight was exacerbated by

   CTX’s counsel’s back-to-back vacations during December holidays, including lead counsel’s

   absence during the week between Christmas and New Year’s Day.

          Fourth, and relatedly, undersigned counsel has acted in good faith. They notified

   opposing counsel and filed this motion immediately upon realizing their error and just a single



                                                     7
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 8 of 13




   business day from the actual due date. As discussed above, CTX did not deliberately disregard

   the rules governing the deadline for filing a motion for interest on the judgment. Its one-day-late

   filing was certainly not intended to cause delay or to obtain any unfair advantage. See Cheney,

   71 F.3d at 850 (concluding there was no bad faith as moving party had not intentionally

   disregarded the local rules and non-movant had not argued the movant had “intended to delay the

   trial” or “sought an advantage by filing late”). Nor is this a case where CTX’s counsel is guilty

   of repetitively flouting court orders or applicable rules. See Keane v. HSBC Bank USA for

   Ellington Trust, Series 2007-2, 874 F.3d 763, 766-67 (1st Cir. 2017) (reversing denial of motion

   to vacate dismissal, finding that “counsel’s behavior, though neglectful, was not intentional,

   egregious, or repetitive,” and distinguishing counsel’s first-time offense in that case from a case

   involving “repeated offenses over the course of three months”).

             For these reasons, CTX’s Rule 60(b)(1) motion is meritorious, and the Court should

   relieve CTX of the timing error. The Court can do that without prejudging the underlying

   motion related to amending the judgment to add prejudgment interest and to specify the post-

   judgment interest rate. At this time, CTX respectfully asks the Court simply to indicate in a

   ruling that it would grant CTX’s Rule 60(b)(1) motion, or at least to state in a ruling that CTX’s

   Rule 60(b)(1) motion raises a substantial issue, so that CTX can petition the Eleventh Circuit to

   remand Benlida’s fledgling appeal to return jurisdiction to this Court so that it can decide the

   merits of the motion to amend the judgment related to interest issues.

      III.      The Court Should Ultimately Amend the Judgment to Specify the Interest CTX
                Is Due

             Even though the Court likely lacks jurisdiction to address this merits issue because of the

   pending appeal in this case, CTX includes this portion of the argument, for three reasons. First,

   by filing this portion of the motion today, CTX demonstrates that its calendaring error was genuine:

                                                      8
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 9 of 13




   it was prepared to file (and indeed now has filed) the motion related to interest by the (one-day-

   off) deadline it had calendared. Second, CTX does not seek any unfair advantage against Benlida,

   and by showing Benlida the merits of its argument now, Benlida will have ample opportunity to

   respond on the merits when that time comes. And third, the Court can see from the argument that

   follows that CTX has a strong basis for entitlement to the pre-judgment interest it seeks.

           A. Pre-judgment interest should be set to run as of January 1, 2020

           CTX-US is entitled to pre-judgment interest on the jury’s award because Florida law

   regards “prejudgment interest [a]s merely another element of pecuniary damages” and provides

   that a “[p]laintiff is to be made whole from the date of the loss once a finder of fact has

   determined the amount of damages and defendant’s liability therefor.” Argonaut Ins. Co. v. May

   Plumbing Co., 474 So. 2d 212, 215 (Fla. 1985). The Florida Supreme Court elaborated:

           Once a verdict has liquidated the damages as of a date certain, computation of
           prejudgment interest is merely a mathematical computation. There is no “finding
           of fact” needed. Thus, it is a purely ministerial duty of he trial judge or clerk of
           the court to add the appropriate amount of interest to the principal amount of
           damages awarded in the verdict.

   Id. “In short,” the Court continued, “when a verdict liquidates damages on a plaintiff's out-of-

   pocket, pecuniary losses, plaintiff is entitled, as a matter of law, to prejudgment interest at the

   statutory rate from the date of that loss.” Id.

           This case fits neatly within the Argonaut framework. First, Florida law governs both

   because this is a diversity case and because the parties’ contract specifies that Florida law

   governs. ECF No. 281-2 (Manufacturing Agreement), § 13.4. Second, the jury award clearly

   qualifies as pecuniary in nature since the amounts reflect compensatory damages arising from

   CTX-US’s breach of contract claims. Third, the date of these losses can readily be ascertained.

   It is mathematically clear that the jury awarded CTX-US the amounts it sought for two



                                                     9
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 10 of 13




   categories of damages: the 2019 reconciliation figure and the payments Benlida requested to be

   diverted to ROK. The dates that those amounts were owed by Benlida to CTX-US were readily

   ascertainable from the evidence at trial. See, e.g., ECF No. 281-66; ECF No. 281-61.1

           To avoid any dispute over the appropriate date of the occurrence of these losses for which

   the jury awarded it damages, CTX-US seeks pre-judgment interest from a point in time that

   unquestionably post-dates them: January, 1, 2020. That approach is fully consistent with

   Florida law, which permits awarding prejudgment interest from the latest possible date of loss.

   SEB S.A. v. Sunbeam Corp., 148 F. App’x 774, 795 (11th Cir. 2005).

           That conservative approach also simplifies the calculation. See Argonaut, 474 So. 2d at

   215 (prescribing that the statutory interest rate controls prejudgment interest, citing § 687.01,

   Fla. Stat., which provides that unless a contract provides otherwise, prejudgment interest accrues

   at the rate provided by § 55.03, Fla. Stat.); § 55.03, Fla. Stat. (providing that the interest rate

   shall be set by Florida’s Chief Financial Officer on a quarterly basis). The applicable interest

   rates in Florida are shown on the CFO’s website.2 As applied to the judgment in thus case,

   running from January 1, 2020 through November 30, 2023, the prejudgment interest accrues as

   follows:

       Rate period       Interest   Daily rate as Days in rate            As Applied to Judgment
          begin            rate        decimal      period                    ($7,585,847)
        1/1/2020          6.83%      .000186612       91                                  $128,820.51
        4/1/2020          6.66%      .000181967       91                                  $125,614.01
        7/1/2020          6.03%      .000164754       92                                  $113,731.67
       10/1/2020          5.37%      .000146721       92                                  $102,396.28
        1/1/2021          4.81%      .000131781       90                                   $89,970.34
        4/1/2021          4.31%      .000118082       91                                   $81,513.43
        7/1/2021          4.25%      .000116438       92                                   $81,261.83
       10/1/2021          4.25%      .000116438       92                                   $81,261.83

   1
     Should the Court desire greater specificity in the evidence on this point, CTX-US respectfully
   requests leave to supplement this motion once the trial transcript has been prepared.
   2
     https://www.myfloridacfo.com/division/aa/local-governments/judgement-interest-rates
                                                     10
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 11 of 13




          1/1/2022        4.25%      .000116438           90                               $79,495.27
          4/1/2022        4.25%      .000116438           91                               $80,378.55
          7/1/2022        4.34%      .000118904           92                               $82,982.85
         10/1/2022        4.75%      .000130137           92                               $90,822.34
          1/1/2023        5.52%      .000151233           90                              $103,250.73
          4/1/2023        6.58%      .000180274           91                              $124,445.31
          7/1/2023        7.69%      .000210685           92                              $147,036.62
         10/1/2023        8.54%      .000233973           61                              $108,267.88
                                                                     TOTAL:             $1,621,249.45

            For these reasons, CTX-US should be awarded $1,621,249.45 in pre-judgment interest.

                B. Post-judgment interest should be set to accrue at 5.05%

            Post-judgment interest is established by statute. It provides:

            Interest shall be allowed on any money judgment in a civil case recovered in a
            district court…. Such interest shall be calculated from the date of the entry of the
            judgment, at a rate equal to the weekly average 1-year constant maturity Treasury
            yield, as published by the Board of Governors of the Federal Reserve System, for
            the calendar week preceding the date of the judgment.

   28 U.S.C. § 1961(a). The applicable interest rate, as of December 1, 2023—the date that the

   Court entered judgment—was 5.05%.3

                                             CONCLUSION

            For the foregoing reasons, CTX respectfully requests that the Court enter an order

   indicating that it would grant CTX’s Rule 60(b)(1) motion if the Court of Appeals returns

   jurisdiction to the Court to amend the final judgment to add pre-judgment interest, and to specify

   the post-judgment interest rate. Alternatively, CTX requests that the Court state in a ruling that

   CTX’s Rule 60(b)(1) motion at least raises a substantial issue, such that CTX can ask the

   Eleventh Circuit to remand the case to this Court to address the motion.




   3
       See https://www.federalreserve.gov/releases/h15/data.htm.


                                                     11
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 12 of 13




                CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)

          I hereby certify that counsel for CTX attempted to confer with opposing counsel before

   filing this motion. First, before CTX’s counsel recognized that the deadline for filing CTX’s

   motion related to interest was due earlier, CTX’s counsel emailed opposing counsel in

   connection with CTX’s bill of costs and mentioned that CTX would be seeking interest in

   connection with that motion. Second, upon belatedly discovering this afternoon that CTX’s

   motion related to interest should have been filed last Friday, December 29, 2023, the

   undersigned candidly attempted to bring that fact to opposing counsel’s attention by way of

   email and text message, including specifying that CTX would instead be filing a Rule 60(b)(1)

   motion. As of the time of this filing, CTX has not heard back from Benlida’s counsel.



                                                  Respectfully submitted,

                                                  /s/ Stephen F. Rosenthal
                                                  Stephen F. Rosenthal
                                                  Florida Bar No. 0131458
                                                  srosenthal@podhurst.com
                                                  Christina H. Martinez
                                                  Florida Bar No. 1029432
                                                  cmartinez@podhurst.com
                                                  PODHURST ORSECK, P.A.
                                                  One S.E. 3rd Avenue, Suite 2300
                                                  Miami, Florida 33131
                                                  Tel.: 305-358-2800

                                                  Counsel for Circuitronix, LLC




                                                   12
Case 0:21-cv-60125-RNS Document 300 Entered on FLSD Docket 01/02/2024 Page 13 of 13




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

   of Notices of Electronic Filing generated by CM/ECF on January 2, 2024 as filed with the Clerk of

   the Court using CM/ECF.

                                                        By: /s/ Stephen F. Rosenthal
                                                                Stephen F. Rosenthal




                                                  13
